Form TRANSC

                                    UNITED STATES BANKRUPTCY COURT
                                      California Northern Bankruptcy Court

In re Debtor(s):                                                        Case No.: 19−30088 DM 11
                                                                        Chapter: 11
PG&E Corporation



                              NOTICE OF FILING OF TRANSCRIPT
                    AND DEADLINES RELATED TO RESTRICTION AND REDACTION




A transcript of the proceeding held on February 11, 2020 at 10:00 AM was filed on February 12, 2020. The following
deadlines apply:

The parties have until Wednesday, February 19, 2020 to file with the court a Notice of Intent to Request Redaction of
this transcript. The deadline for filing a request for redaction is Wednesday, March 4, 2020.

If a request for redaction is filed, the redacted transcript is due Monday, March 16, 2020.

If no such notice is filed, the transcript may be made available for remote electronic access upon expiration of the
restriction period, which is Tuesday, May 12, 2020, unless extended by court order.

To review the transcript for redaction purposes, you may purchase a copy from the transcriber,

Jason Gottlieb
Attn: Jason Gottlieb, Dir. of Tran. Ops.
7227 N 16th St. #207
Phoenix, AZ 85020

or you may view the document at the clerk's office public terminal.




Dated: 2/18/20                                     For the Court:


                                                   Edward J. Emmons
                                                   Clerk of Court
                                                   United States Bankruptcy Court




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